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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
                                  PORTLAND DIVISION

                                                Case No
ROBERT SISSON,
                                               COMP
                                                          ^10-l^U HA
                Plaintiff,
                                                FAIR DEBT COLLECTION PRACTICES
        vs.                                     ACT (15 USC § 1692a, et seq.)\

UNITED COLLECTION BUREAU,                       DEMAND FOR JURY TRIAL
INC.,

                Defendant.
                                   L INTRODUCTION

        1.      This is an action for damages brought by an individual consumer for

Defendant's violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter "FDCPA").

                                   IL JURISDICTION
                                                                                          i




        2.      Plaintiffs claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a "federal question" pursuantto 28 USC § 1331.

                                       ffl. PARTIES

        3.      Plaintiff, Robert Sisson ("Plaintiff'), is a natural person residing in

Multnomah County, Oregon.

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       4.      Defendant, United Collection Bureau, Inc., ("Defendant") is a corporation

engaged in the business of collecting debts by use of the mails and telephone. Defendant

regularly attempts to collect debts alleged due another.

                           IV. FACTUAL ALLEGATIONS

       5.      Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection

with the collection of a "debt," as defined by 15 USC § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant's conduct violated the FDCPA in multiple ways,

including the following.

       9.      Communicating with Plaintiff after having received a letter from Plaintiff

with a request to cease and desist all collection contacts or a statement that Plaintiff

refuses to pay the debt. Plaintiff sent a letter to Defendant dated June 30,2010, in which

Plaintiff disputed the debt and requested that Defendant make no further contact with

Plaintiff Defendant ignored Plaintiffs requests by sending Plaintiff another letter stating

that it was not required to provide any documentation to Plaintiff (§ 1692c(c)).

       10.     Falsely representing the character, amount, or legal status of Plaintiffs

debt, including representing that Plaintiff owes a debt he does not owe, even after

Plaintiffdisputed the debt and explained precisely why he did not owe it (§ 1692e(2XA)).


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       11.     As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiffs feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       12.     Defendant intended to cause, by means of the actions detailed above,

injuries to Plaintiffs feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       13.     Defendant's actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probablerisks to purporteddebtors.

       14.     To the extent Defendant's actions, detailed in paragraphs 8-10, were carried

out by an employee of Defendant, that employee was acting withinthe scopeofhis or her

employment.

   COUNT It VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       15.     Plaintiffreincorporates by reference all ofthe preceding paragraphs.

       16.     The preceding paragraphs state &primafacie case for Plaintiff and against

Defendant for violations ofthe FDCPA, §§ 1692c(c) & 1692e(2XA).

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant's conductviolatedthe FDCPA;

       B.      Actual damages pursuant to 15 USC 1692k;

       C.      Statutorydamages pursuant to 15 U.S.C. § 1692k;


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      D.      Costs, disbursements and reasonable attorney's fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

      E.      For such other and further relief as may be just and proper.

               PLAINTIFF HEREBY REOUESTS A TRIAL BY JURY




                                                           >nd
                                              Dated this 22M   day ofNovember, 2010


                                                  By:
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